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                                       UNITED STATES DISTRICT COURT
                                            DISTRICT OF MARYLAND

    PETER J. MESSITTE                                                                  6500 CHERRYWOOD LANE
UNITED STATES DISTRICT JUDGE                                                        GREENBELT,MARYLAND 20770
                                                                                             301-344-0632



                                                 MEMORANDUM


       To:             Counsel of Record


       From:           Judge Peter J. Messitte

       Re:             Lundreean v. Housing Opportunities Commission, et al.
                       Civil No. PJM 19-1369


       Date:           December        2021




       Defendant has asked for an extension of time to file a Motion for Summary Judgment(ECF No.
       132). The Court suggests that a Motion for Summary Judgment at this time is premature,
       especially in so far as it may be based on Plaintiffs failure to make Discovery. Now that Plaintiff
       has Counsel, the Court has decided to re-open Discovery, so there is no need to extend the time
       for the Motion for Summary Judgment at this point.

       That said, the Court has been extremely generous in allowing Plaintiffs case to go forward,
       notwithstanding her continuous failure to cooperate with Discovery heretofore. Plaintiff is
       specifically forewarned that there must be no more delays in responding to Discovery requests
       from the Defendant- interrogatories, depositions, etc. As for any requests for Discovery that may
       be formulated by Plaintiff, they must strictly pertain to issues in this case. This case will not serve
       as a vehicle for Plaintiff to seek information on any unrelated matters.

       Plaintiffs failure to cooperate in the future may result in sanctions, including dismissal of claims
       or, possibly, of the entire suit.

       Therefore, it is ORDERED:

           1. Defendant's Consent Motion for an Extension to Time to File Pretrial Dispositive Motions
              (ECF No. 132)is DENIED without prejudice;

          2. The Court will ISSUE a separate revised Scheduling Order.

       Despite the informal nature of this ruling, it shall constitute an Order of the Court and the Clerk is
       directed to docket it accordingly.
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